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                            UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

In re:                                                 )       Case No.: 18-40777-705
David J. Rice,                                         )       Chapter 7
                                                       )
       Debtor.                                         )       Re: Docket No. 36
                                                       )

ORDER GRANTING CHAPTER 7 TRUSTEE’S MOTION TO APPROVE (I) A SHORT
        SALE OF REAL PROPERTY FREE AND CLEAR OF LIENS, CLAIMS,
ENCUMBRANCES AND INTERESTS PURSUANT TO 11 U.S.C. § 363(B), (F), AND (M)
  (II) A SURCHARE AGREEMENT BETWEEN SECURED CREDITORS AND THE
                     ESTATE, AND (III) OTHER RELIEF

       THIS CAUSE came before the Court for hearing (the “Sale Hearing”) upon the Chapter 7

Trustee’s Motion to Approve (I) a Short Sale of Real Property Free and Clear of Liens, Claims,

Encumbrances, and Interests pursuant to 11 U.S.C. Section 363 (b), (f) and (m), (II) a Surcharge

Agreement Between Secured Creditors and the Estate and (III) Other Relief [Docket No. 36] (the

“Sale Motion”), by which Tracy A. Brown (the “Trustee”), Chapter 7 Trustee for the above-

referenced debtor (“Debtor”), seeks authority to sell, free and clear of all liens, claims

encumbrances, and interests, certain real property owned by Debtor, commonly known as 2020

Foggy Bottom Drive, Florissant, MO 63031 (the “Property”) and legally described as follows:

            Lot 895 of PLEASANT HOLLOW PLAT TWO-A, a subdivision in St. Louis County,
            Missouri, according to the plat thereof recorded in Plat Book 143, Page 10 of the St. Louis
            County Records.

       For the reasons set forth in the Sale Motion, the Trustee has demonstrated that the sale of

the Property on the terms contained in the Sale Motion is in the best interests of the Debtor’s estate.

Accordingly, it is hereby

                 ORDERED AND ADJUDGED as follows:

       1.        The relief requested in the Sale Motion is GRANTED and the sale of the Property

by the Trustee pursuant to 363(b), (f) and (m) free and clear of all liens, claims, encumbrances,
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and interests, using the services of BK Global (“BKRES”) is hereby APPROVED, subject to the

terms and conditions herein.

           2.      Notice of the Sale Motion was proper, and no objections to the Sale Motion were

timely filed. Thus, to the extent any creditor (other than the Secured Creditors) asserts an interest

or secured claim against the Property, such creditor is deemed to have consented to entry of this

Order, and such creditor’s claim shall not be a secured claim. To the extent any creditor asserts a

claim against the Property (i.e., junior lienholders), such creditor shall be entitled to file a proof of

claim pursuant to F.R.B.P. Rule 3002(c)(3).

           3.      Except as provided in the sale documents, upon the Closing Date the Property shall

be transferred to the Buyer 1 free and clear of all encumbrances arising prior to the Closing Date or

arising from or relating to acts occurring prior to the Closing Date, and any such substantiated

interest, claims, liens or encumbrances, if any, shall be deemed general unsecured claims.

           4.      If any person or entity that has filed a financing statement or other documents or

agreements evidencing interest, claims, liens or encumbrances on the Property does not timely

deliver to the Trustee prior to the Closing Date—in proper form for filing and executed by the

appropriate parties—termination statements, instruments of satisfaction, and/or releases of all

encumbrances which the person or entity has with respect to the Property, the Buyer is hereby

authorized to execute and file such statements, instruments, releases and other documents on behalf

of the person or entity with respect to the Property. The foregoing notwithstanding, the provisions

of this Order authorizing the sale and assignment of the Property free and clear of encumbrances

shall be self-executing, and notwithstanding the failure of the Buyer, the Trustee, or any other

party to execute, file or obtain releases, termination statements, assignments, consents or other


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    The Buyer has been identified as STL Houses Funding.
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instruments to effectuate and implement the provisions of this Order or the sale documents,

respectively, all encumbrances on the Property shall be deemed divested, released and terminated.

       5.      The Trustee is authorized to pay the Secured Creditors, SunTrust Mortgage, Inc.

(serviced by Bayview Loan Servicing) and Busey Bank such amounts as are agreeable to the

Secured Creditor(s) to release their liens and fully satisfy the underlying obligations.

       6.      The Trustee is authorized to take any and all actions and to execute any and all

documents necessary and appropriate to effectuate and consummate the terms of said sale,

including, executing a Trustee’s Deed conveying the interests of the Debtor and the bankruptcy

estate in the Property to the Buyer.

       7.      Pursuant to Section 363(f) of the Bankruptcy Code, effective upon closing, the sale

of the Property will vest in the Buyer all right, title and interest of the Debtor and the bankruptcy

estate in the Property, free and clear of the liens, claims or interests of the Debtor and the Secured

Creditors (collectively, the “Affected Interests”).

       8.      This Order is and shall be effective as a determination that, upon and subject to the

occurrence of the closing of the sale, all Affected Interests have been and hereby are adjudged and

declared to be unconditionally released as to the Property.

       9.      The Buyer has not assumed any liabilities of the Debtor.

       10.     The Trustee, and any escrow agent upon the Trustee’s written instruction, shall be

authorized to make such disbursements on or after the closing of the sale as are required by the

purchase agreement or order of this Court, including, but not limited to, (a) payment of such

amounts as are agreeable to the Secured Creditors to release their liens; (b) payment of all

delinquent real property taxes and outstanding post-petition real property taxes pro-rated as of the

closing; (c) payment of all delinquent Metropolitan Sewer District fees and outstanding post-

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petition fees pro-rated as of the closing; (d) payment of a sales/broker’s commission of 6% payable

to BKRES and the listing agent, Opulence Way Realtor, LLC, as their interest may appear; (e)

payment of all other customary prorations and closing costs; and (f) payment of the Carve Out to

the Trustee in the amount of $6,500.00.

       11.     Except as otherwise provided in the Motion, the Property shall be sold, transferred,

and delivered to Buyer on an “as is, where is” or “with all faults” basis and without representations

or warranties of any type, express or implied, being given by the Trustee and her professionals.

Any personal property left on the Property shall be the responsibility of the Buyer.

       12.     Buyer is approved as a buyer in good faith in accordance with Section 363(m) of

the Bankruptcy Code, and Buyer shall be entitled to all protections of Section 363(m) of the

Bankruptcy Code.

       13.     This Court retains jurisdiction to enforce and implement the terms and provisions

of this Order and the purchase agreement, all amendments thereto, any waivers and consents

thereunder, and each of the documents executed in connection therewith in all respects.

       14.     The 14 day stay pursuant to Rule 6004(h) is hereby waived and this Sale Order shall

be enforceable immediately upon entry, and the Trustee is authorized to close on the sale

immediately upon entry.




 DATED: November 26, 2019                                       CHARLES E. RENDLEN
 St. Louis, Missouri 63102                                       U.S. Bankruptcy Judge
 mtc




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Order prepared by:
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